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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                  8:13C114
       vs.                                   )
                                             )                   ORDER
VICTOR ACERO,                                )
                                             )
                     Defendant.              )
                                             )


       This matter is before the court on the motion to continue trial [60] as counsel needs
additional time to investigate the case and discuss a resolution. Counsel also informs the
court he will be out of the country the month of June. The government has filed an
objection to the continuance [62] The defendant has complied with NECrimR 12.1(a).
For good cause shown,

       IT IS ORDERED that the objection to continue trial [62] is denied and the motion to
continue trial [60] is granted, as follows:

       1. The jury trial now set for June 4, 2013 is continued to July 23, 2013.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and July 23, 2013, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act.
Failure to grant a continuance would deny counsel for the defendant the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED May 16, 2013.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
